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                       IN THE UNITED STATES DISTRICT CO *»UD
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 SHERMAN DIVISION MAY 1 4 2025
                                                 „ Clerk, U.S. District Court
  UNITED STATES OF AMERICA                       § Texas Eastern


  v.                                             § No. 4:25-CR- / Q
                                                 § Judge
  TRAMMELL OMAR JONES



                                       INDICTMENT
 The United States Grand Jury Charges:

                                         COUNT ONE

                                                       Violation: 18 U.S.C. § 933(a)(2), (3)
                                                         (Trafficking in Firearms;
                                                         Conspiracy and Attempt)

       From in or about March 2020, and continuing up to and including the date of the

 filing of this indictment, in the Eastern District of Texas and elsewhere, TRAMMELL

 OMAR JONES, Defendant, did knowingly conspire and agree with others known and

 unknown to the United States Grand Jury to receive or attempt to receive, in and affecting

 interstate commerce, firearms, including but not limited to the following, to-wit: Beretta,

 model: 92FS, 9 mm pistols; Romar/ Cugir, model: Micro Draco, 7.62 pistols; Glock,

 model: 23 and 22, .40 caliber pistols; and Glock, model: 23 Gen 5, .40 caliber pistols,

 while knowing or having reasonable cause to believe that such receipt would constitute a

 felony (as defined in section 932(a)), in violation of Title 18, United States Code,

 Sections 933(a)(2), (3).



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                                       COUNT TWO

                                                   Violation: 18 U.S.C. § 932(b)(2)
                                                   (Straw Purchasing of Firearms)

        From in or about March 2020, and continuing up to and including the date of the

 filing of this indictment, in the Eastern District of Texas and elsewhere, TRAMMELL

 OMAR JONES, defendant, did knowingly purchase, and conspire with others known and

 unknown to the United States Grand Jury to purchase firearms, including, but not limited

 to: Beretta, model: 92FS, 9 mm pistols; Romar/ Cugir, model: Micro Draco, 7.62 pistols;

 Glock, model: 23 and 22, .40 caliber pistols; and Glock, model: 23 Gen 5, .40 caliber

 pistols, in or otherwise affecting interstate or foreign commerce, for, on behalf of, or at


 the request or demand of another person, knowing or having reasonable cause to believe

 that the individual recipient intended to use, cany, possess or sell or otherwise dispose of

 the firearm in furtherance of a felony or a drug trafficking crime, in violation of Title 18,

 United States Code, Section 932(b)(2).



                                       COUNT THREE

                                                          Violation: 18 U.S.C. § 922(a)(1)(A)
                                                          (Engaging in the Business Without
                                                          a License (Firearms))

        From in or about March 2020, and continuing up to and including the date of the

 filing of this Indictment, in the Eastern District of Texas and elsewhere, the defendant,

 TRAMMELL OMAR JONES, not being a licensed dealer of firearms within the meaning




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 of Chapter 44, Title 18, United States Code, did willfully engage in the business of

 dealing in firearms, in violation of 1 U.S.C. §§ 922(a)(1)(A), 923(a), and 924(a)(1)(D).



          NOTICE OF INTENTION TO SEEK CRIMINAL FORFEITURE

    Pursuant to 18 U.S.C. § 981(a)(1)(C), 18 U.S.C. § 924(d), 18 U.S.C. § 934, and 28

                                          U.S.C. § 2461.

        As the result of committing the offenses alleged in this Indictment, the defendants

 shall forfeit to the United States:

        a. any firearms and ammunition involved or used in the commission of these
               offenses;
        b. any property constituting, or derived from, any proceeds obtained, directly
               or indirectly, as the result of such violation; and
        c. any property used, or intended to be used, in any manner or part, to commit,
                or to facilitate the commission of, such violation, including, but not limited
               to:
                         i. Glock, model: 22, 40 caliber pistol, bearing S/N: BBSZ345
                       ii. Glock, model: 22, 40 caliber pistol, bearing S/N: KSP348
                      iii. Glock, model: 23, 40 caliber pistol, bearing S/N: CCFE798
                      iv. Glock, model: 43x, 9mm pistol, bearing S/N: BTTF446
                       v. Glock, model: 30, 45 caliber pistol, bearing S/N: CCTP189
                      vi. Pioneer Arms Corp, model: Hellpup, 7.62 caliber pistol, bearing
                           S/N: PAC24PL28013
                      vii. Glock barrel bearing S/N: BYZE416
                     viii. Glock barrel bearing S/N: BYNU909
                       ix. Glock barrel bearing S/N: CCTP189
                       x. Any ammunition related to the case.




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                                                      A TRUE BILL




                                                       GRAND JURY FOREPERSON


 ABE MCGLOTHIN
 ACTING UNITED STATES ATTORNEY


                                                Date:
    TTHEWT. JO            N
 Assistant United         ttomey




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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TEXAS
                                   SHERMAN DIVISION

  UNITED STATES OF AMERICA

  v.                                                       No. 4:25-CR- / 0 O
                                                           Judge
  TRAMMELL OMAR JONES


                              NOTICE OF PENALTY

                                      Count One

       Violation:         18 U.S.C. § 933(a)(2), (3), 933(b)

       Penalty:           Imprisonment of not more than fifteen years, a fine not to
                          exceed $250,000, or both; a term of supervised release of not
                          more than three years.


       Special Assessment: $ 100.00


                                      Count Two

       Violation:         18 U.S.C. § 932(b)(2)

       Penalty:           Imprisonment of not more than fifteen years, a fine not to
                          exceed $250,000, or both; a term of supervised release of not
                          more than three years.


                          If a violation of subsection (b) is committed knowing or with
                          reasonable cause to believe that any firearm involved will be
                          used to commit a [Federal or State] felony, a Federal crime of
                          terrorism, or a drug trafficking crime, the person shall be
                          sentenced to a term of imprisonment of not more than 25
                          years.



       Special Assessment: $ 100.00
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                                     Count Three

      Violation:         18 U.S.C. § 922(a)(1)(A)

      Penalty:           Imprisonment of not more than five years, a fine not to
                         exceed $250,000, or both; a term of supervised release of not
                         more than three years.


      Special Assessment: $ 100.00
